                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION


EVELYN GREENBERG, individually and on
behalf of all others similarly situated,
                Plaintiff,
        v.                                            Case No. 10-cv-01103
BUCYRUS INTERNATIONAL, INC., et al.,
                Defendants.


DANIEL HIMMEL, individually and on
behalf of all others similarly situated,
                Plaintiff,
       v.                                             Case No. 10-cv-01104
BUCYRUS INTERNATIONAL, INC., et al.,
                Defendants.


THOMAS TURBERG, individually and on
behalf of all others similarly situated,
                Plaintiff,
       v.                                             Case No. 10-cv-01105
BUCYRUS INTERNATIONAL, INC., et al.,
                Defendants.


CITY OF STERLING HEIGHTS POLICE &
FIRE RETIREMENT SYSTEM, individually
and on behalf of all others similarly situated,
              Plaintiff,
      v.                                              Case No. 10-cv-01106
BUCYRUS INTERNATIONAL, INC., et al.,
             Defendants.


      DEFENDANT CATERPILLAR, INC.’S CIVIL L.R. 7(H) EXPEDITED NON-
            DISPOSITIVE MOTION TO CONSOLIDATE ACTIONS


       Defendant Caterpillar, Inc. (“Caterpillar”) hereby moves under the expedited procedure

of Civil L.R. 7(h) to consolidate the above four actions pursuant to Fed. R. Civ. P. 42(a)(2). The

grounds for the motion are as follows:



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        1.       These four actions were originally filed in Milwaukee County Circuit Court. The

Greenberg, Himmel and Turberg cases were filed on November 16, 2010; the City of Sterling

Heights case was filed on November 19, 2010. Caterpillar and Badger Merger Sub, Inc.

(“Badger”) removed each action to this Court on December 8, 2010.

        2.       Although each action is brought by a different named plaintiff, each plaintiff

allegedly is a shareholder of defendant Bucyrus International, Inc. and seeks to represent an

identical class of Bucyrus shareholders. Each complaint names as defendants Bucyrus, the

members of its Board of Directors, Caterpillar, and Caterpillar subsidiary Badger. In each

action, plaintiff claims that the Bucyrus directors breached their fiduciary duties to the purported

class and that Caterpillar and Badger aided and abetted the breach. In each action, plaintiffs seek

to void the merger agreement (apparently without allowing Bucyrus shareholders to vote on it)

and to enjoin defendants from consummating the merger.

        3.       The only substantive differences among the actions are that on December 14,

2010, plaintiffs in the Greenberg and Turberg actions filed amended complaints and added

claims of violation of federal proxy law. Plaintiff in Greenberg also filed a Civil L.R. 7(h)

motion on December 15, 2010, seeking expedited discovery. Defendants will shortly be filing

oppositions to that motion.

        4.       The Ademi & O’Reilly law firm represents plaintiffs in the Greenberg and

Turberg cases (along with other counsel), and Hale & Wagner represents plaintiffs in the

Himmel and City of Sterling Heights cases (also with other counsel). It appears that the

Greenberg/Turberg plaintiffs are vying with the Himmel/Sterling Heights plaintiffs for control of

plaintiffs’ side of the lawsuits.

        5.       As noted above, these cases involve the same purported plaintiff class, the same

defendants, the same underlying facts and transactions, and seek the same relief. To allow them

to proceed separately -- especially with lawyers competing on behalf of the same purported class
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to control plaintiffs’ side of the case -- would subject defendants to multiple proceedings,

potentially inconsistent demands, and unnecessary costs of defense. Consolidation would

promote judicial economy and avoid piecemeal litigation. Indeed, in the stipulations for

extensions of time to respond to the complaint that were filed in each case on December 15,

2010, each plaintiff indicated that he or she intends to seek consolidation of the related cases and

expects that a consolidated amended complaint will be filed. See Dkt. 9 in the City of Sterling

Heights case, and Dkt. 10 in the other three cases.

        6.       Caterpillar therefore respectfully requests that the Court consolidate these actions

for all purposes.

        Dated this 16th day of December, 2010.



                                                      s/Howard A. Pollack
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